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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 1 of 19

The Honorable Beryl A. Howell
Chief Judge

United States District Court

333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens,
21-cr-00286-BAH

Dear Chief Judge Howell:

I’ve had the privilege of being Grady Owens’ girlfriend for almost a year and a
half now, living near him in Florida while we both attended Full Sail University on
campus, and moving back to Texas- four hours away from him- to continue our
schooling online and our relationship from a distance. I’m writing you today to
articulate as best I can how gentle, kind, and sweet of a man he is, and hopefully
providing the Court with some better insight into who he is as a person. I first met
Grady two years ago on the set of a film some Full Sail students were shooting. We
were cast as husband and wife, and I could tell just from talking with him briefly
between scenes just how kind and respectful he was. Initially, he was very soft
spoken and truly just wanted to know more about me, sitting back and listening
intently as we got to know each other. As I walked back to my car that night, he
ran up after me, smiling bashfully, and asked if he could have my number. From
there, we’ve become closer than I ever thought we could. Every day we’re
together, and every day we’re not, he makes sure to tell me that I’m beautiful and
that he’s thankful for me. He’s never shown any sort of disrespect to me, and I’m
confident he never will. In the time we’ve been dating, we’ve never had an
argument. He’s never even come close to raising his voice. We settle things by
sitting down and talking, usually cracking a smile or a laugh in the end and going
on with our day like normal. For Christmas, though we didn’t have much money to
buy each other gifts, he went out of his way to buy a book we could write letters in
to each other, and he’d prefilled at least half of it with compliments and memories
and truly heartfelt words. We traded that book back and forth and wrote notes to
each other the entire time we were away. He even went so far as to Surprise me one
day with a box of candy at my doorstep. He’d had a package delivered to me full
of things he knew I'd love purely because he thought I’d been feeling down about
the distance between us. A few days ayo, as he was sitting in jail, he actually made
sure to buy a candy bar with his commissary money and saved it for when I could
have one with him, so we could have a semi-normal date over the phone with our
candy bars. Grady even told me to find the wallet he has in his room and take all
the money in it for myself because he still wants to be able provide for me through
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 2 of 19 |

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all this. The first time he got to talk to me after his arrest, he was only concerned
with me, asking if I was okay, if I was scared, and if I was hurt. I truly and wholly
believe that Grady is a sincere, gentle, compassionate and thoughtful man. The best
man I know. And as he sits in that cell- inarguably in a worse situation than
everyone who knows him- all he concerns himself with is his family, his friends,
and my own personal wellbeing. He’s so selfless, and kind, and genuinely good,
that I’ve been brought to tears multiple times a day trying to wrap my head around
the happenings of these past few weeks. I ask as humbly as I can that you consider
who he is as a friend, a partner, a brother, a son, anda person. I trust him with my
whole being, with my life, and with my future. I’m grateful for the opportunity to
speak about him, and hope that this has given you some insight on how I’ve known
him to be since we’ve met. Thank you for your time and consideration.

Sincerely,

Hannah Halvorsen
Case 1:21-c1-00286-BAH_ Document 13-3. Filed 04/29/21 Page Sof19

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The Honorable Beryl A. Howell

Chief Judge

United States District Court

333Constitution Avenue, N.W.

Washington, D.C. 20001

Re: Grady Douglas Owens 21-cr-00286-BAH

Dear Chief Judge Howell:

My name is Tiffany Halvorsen, | am 57 years old, a single mother of one
beautiful young lady, and | am a special needs elementary school teacher
in Texas for the past 15 years. There is no one more valuable to me than
my daughter. | have nurtured, guided, and loved her every step of her life.
She has character, the kind that comes with compassion, empathy,
thoughtfulness, thankfulness, discipline, kindness and love of God and
people. | mention my Hannah because for over a year now she has been
Grady Owens girlfriend. | trust Grady with my most cherished, precious
gift.

Grady is kind, thoughtful, caring, loving, supportive, funny, super talented
and loves God and people. When meeting him for the first time he was very
laid back and happy, relaxed, and a little shy. He loves music and shared
with me some of his favorites. He has great conversation and continually
educates himself on topics of interest. | like that his talk is clean, respectful
and nice. Haven't ever heard him talk badly about anyone.

He is constantly growing and learning and becoming an even more
beautiful soul. His time was about creating music in his studio (many
hours), working and going to school, Staying close to family and friends,
being there for Hannah and always making her feel special. They did a lot
of creating together since they both play multiple instruments and sing. |
think they are also Spending time designing a video game together...

Hannah is a game art major. So many ideas and friends, he’s just such a
nice guy.

| enjoyed hanging out with him and | appreciated him enjoying that time
too. We took a road trip from Houston to Austin and Grady, Hannah and |

 

 
 

Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 4 of 19

had so much fun... talking, laughing and lots of great music that we all took
turns choosing. On a vacation | laughed as he and Hannah tried to figure
out how to get a fish in using a broken reel, lots of line pulling. He took a
horse ride that day even though he didn't feel the best but didn’t complain
because he wanted to make Hannah happy. There was a time | was
meeting Grady to drop off Hannah to him for a visit and he was a few
minutes late because he helped a car that had run off the road. | think he

saved the driver.

What has happened is shocking. Grady is a responsible, gentle, helpful,
beautiful soul with so much to offer this world, life and people. He has a
heart of love and even through this craziness he thinks of others before
himself. He is a light in a lot of darkness and if you talk to him | know you
will see it. I hurt for his situation especially because he is such a good
person. Wrong place wrong time but good person without a doubt.

Sincerely,

Tiffany Halvorsen
Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 5 of 19

The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens, 21-cr-00286-BAH

Dear Chief Judge Howell:

| am writing this letter in support of the character of Grady Douglas Owens. Grady was a student of mine
in my youth group throughout his high school years and | have known him years prior and his years after
high school.

Over the course of the many years | have known Grady | have seen him in many different capacities
including student, student leader, missionary, musician, and friend. In all of those areas | have seen
Grady demonstrate a very consistent, kind, and selfless approach. Whether he was sitting in a group
learning, leading a group of kids at vacation Bible school, helping build homes for those without in the
mountains of Guatemala, or playing his guitar at or around church, Grady took great pride in always
striving to get better and always striving to mirror the actions of Jesus with a great passion and
persistence. | have seen these actions of Grady met with respect, love and even some finding their own
faith as a result.

Obviously, when you know someone as long as I’ve known Grady, at the ages I’ve known him, you see
them have teachable moments when they fall short of what they are trying to accomplish. Along with
witnessing these “failures”, however, you also get to see how they will respond to them. Because of
Grady’s strong faith and support system at home and with his church family, | can confidently say that
Grady is a person who, while young and passionate, not only learns from his mistakes, but takes great
pride in making sure a correction gets made to not repeat. I’ve seen this done by Grady learning things on
his own, and I've seen this done by Grady leaning into his support system to keep him accountable and
walk beside him in correction,

| am confident that when this case comes to a close the character of Grady Owens will not change, nor
will the support and love he has around him, and he will learn from the things he should have done
differently on his own or through those around him holding him accountable.

Thank you for taking the time to read this.

Sincerely,

Michael Andrews
Executive Pastor
Community Bible Church Bulverde
Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 6 of 19

 
 
 

 

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The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Ave, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens, 21-cr-00286-BAH
Dear Chief Judge Howell,

My name is Larry Andrews. | have been the senior pastor of Community Bible Church
Bulverde for 15 years, and lived in and around this area for 30 years.

During that time | have had the privilege’ to get to know, and serve alongside the Owens

_ family. They have been active members of CBCB since, | believe - 2012 (when Grady
was just a young boy). This family has been a faithful and consistent part of our church
for the last 9 years. Jason has been a reliable volunteer in our media/sound department
and Shannon has been one of the best and most consistent singers on our worship
team. |, along with our community, have come to know and love this family. They are
well thought of, and loved in this community - often opening their home to friends and
neighbors on Sunday nights for a meal. They not only have two boys of their own -
Grady and 4if@®, they've also adopted three children, two of whom have medical
Struggles. In keeping with their family’s character, they have sacrificially provided for,
cared for, and loved these adopted children as their own. | know there were times
Grady must have felt some normal sibling rivalry for the younger kids - especially when
they required so much attention. But you'd never know it - he is always loving and kind
and gentle with them.

It has been a special joy to watch Grady grow up and grow into ministry. Even as a
teenager, he went with a group that our church sent to Guatemala to serve the
impoverished people there, Grady raised the money himself for the trip. Like his family,
Grady has a passion and a gift - not only for his faith, but for music. He has also served
on our worship team. Singing, playing guitar, running sound - whatever was needed to
serve the church. Most recently, Grady has been in school in Florida where he is
learning about music production, and has high hopes of pursuing a career in music -
possibly leading worship. He has grown up in a loving, Christian home in the quiet little
town of Blanco, TX - and taught to love and serve his church, his family, and his
community. | believe that he has learned those lessons well.

 
Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 7 of 19

 

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Along with his family, Grady is well respected in our church, and in this community for
his character, compassion, and integrity. They are known as good neighbors, good
friends, good citizens, good Christians - just good people.

If there is anything I can clarify, or questions [ can answer - please let me know.

Sincerely,

ry Andrews
Senior Pastor
Community Bible Church Buivarte:
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 8 of 19 -

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The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.

Washington, D.C 20001

Re: Grady Douglas Owens, 21-cr-00286-BAH
Dear Chief Judge Howell:

| am writing to you to share my experiences with Grady Douglas Owens.

My name is Jason Murphree and | am a High school and Middle school teacher and coach in Blanco
Texas. | have been teaching for 24 years.

| first met the Owens family when they moved to Blanco about 7-8 years ago. Grady Douglas Owens was
in my freshman Algebra 1 class. Grady is a normal young man with excellent manners. I can tell that his
parents have raised him to be respectful. He always addressed me as sir and there was never a time
when he was not courteous. Through my years of teaching, | have learned what parents stress respect
and manners, versus those that do not. Grady was raised by good parents, that care about what their
family name stands for.

| have never seen Grady act in an aggressive manner. In fact, | have seen just the opposite in class.
Grady would always make a point to talk to or say a positive word to kids that did not fit in. He would
also be one that would get in the middle of a conflict and try to talk sense into two boys about to have a
fight. Grady’s actions always led me to believe that he cares about how other kids feel. Caring for other
people’s feelings is a character trait that most students in high school lack. Compassion!

| have also seen Grady’s actions at church. Grady is a musician and his love for music led him to get
involved with the church band. There were many days that Grady played the drums, or guitar at church
during the service. Giving up his time to practice and rehearse with the band, and not getting paid for it,
showed me his passion for music. His passion also inspired other kids to get involved in music as well.
The Owens family made their own recording studio at their home. The recording studio was a place that
many kids would come to listen or to make a tape in hopes of making it big. Grady did not care what

genre of music you liked, he was there to help you play your songs. This is not the behavior of a violent
person.

Grady is also involved in many other ways in his church, from mission trips, to playing music for the
youth on Wednesday nights. He is not a violent person.

Sincerely,
Jason Murphree
US Army Veteran

Middle School Algebra Teacher, Blanco Texas

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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 9 of DO ees

 

The Honorable Beryl A. Howell

Chief Judge

United States District Court
333 Constitution Avenue N.W.
Washington, D.C. 20001

In Re: Grady Douglas Owens, 21-cr-00286-BAH

Dear Chief Judge Howell:

| am writing this letter to bring light to the kind of person Grady Douglas Owens is and to share with you some
personal experiences | have had with this fine young man.

| am Paige Murphree, a close family friend of the Owens family from Grady’s hometown of Blanco, Texas. |
have known Grady since he was in middle school. He is a true delight to our town and loved by his
classmates. Grady has always strived in excellence in music, devotion to the Lord and his family. His
enthusiasm has led to many good works in our community. Grady has used his musical talent and leadership
to lead worship at our church. He is an asset to the entire team and has been an influential part of mission
trips abroad where he has sought out communities in need of help.

Grady has learned to LOVE BIG from his family. His mother and father have five children total. Two of which
are their own blood and three have been adopted from various countries and ethnicities. The Owens are the
most kind and compassionate people | know and have taught these traits to their children. Grady is the oldest
of his siblings and they look up to him. | pray the courts will consider these truths about this family and

specifically Grady.

My most recent memory of Grady was this past Christmas Eve. My family was invited to the Owens home for
Christmas Eve dinner and to hear the Christmas Story. Grady led us in prayer and carols. His entire family
took turns sharing the story of Jesus’s birth. What a blessing to be surrounded by loving people of all ages
learning and singing about Jesus. It was a very special night, and | am thankful that | was able to spend it with
Grady. This is just one of the many times my family has spent with the Owens family.

It is my sincere hope the court takes this letter into account at the time of Grady’s hearing. | believe, Grady
Douglas Owens is an honorable individual, a valuable member of our community and a fine young man that
anyone would want as a friend. | am glad he is mine,

Sincerely,

Paige Murphree
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 10 of 19

To: The Honorable Beryl A. Howell
Chief Judge

United States District Court

333 Constitution Avenue, N.W.

Washington, D.C. 20001

Re: Grady Douglas Owens, 21-cr-00286-BAH
Dear Chief Judge Howell:

My name is Todd Trammell and | am a friend of Grady Owens and his family. | live in the same home
town of Blanco, Texas, just about 50 miles west of Austin. I’m almost 53 years old and have lived in
Central Texas my entire life. After earning my B.S. in Electrical Engineering as well as M.B.A from the
University of Texas at Austin, I’ve been in the semiconductor (“chip”) industry for the last ~30 years
doing various forms of business development, product management and marketing. Over the 30 years
I’ve had the fortune to work for some great Fortune 500 companies such as Intel and Broadcom, as well
as other large companies such as NXP (Motorola Semiconductor), Digital Equipment Corporation (DEC),
AMD, and Marvell Semiconductor. During this time I’ve been able to travel and work internationally
quite extensively, including hundreds of business trips across the USA and Canada, Western Europe, and
various parts of Asia. Given this, I’ve been exposed to many different cultures, types of people and
personalities. | am a law abiding citizen and have never had any issues legally nor with law enforcement
(just the occasional traffic violation, which I’ve also had very few of).

The purpose of this letter is to provide you with my unique perspective on the character and person
Grady Owens. I’ve known Grady and his family for approximately the last 5 years, having met them
when we first started attending the church where the Owens family belongs and serves, Community
Bible Church Bulverde (“CBCB”). | guess he was about 16 years old at the time and a sophomore in high
school. Even though he was young, anyone could clearly see Grady had a real gift for music. He was up
on the main stage at church playing guitar and also helped with the sound control/mixing in the back
some times. Grady played in the church worship group for several years, almost every week, until he
left for Full Sail University in Florida a couple years ago. It is one thing to have a gift like he does with
music, but quite another to use it to serve others in his community and church. In addition to serving on
the worship team, Grady went ona mission trip to Guatemala with several other teenagers from the
area. During their time there, they focused on helping and serving local orphans, who are tragically a
forgotten group in Guatemala. That mission made quite an impression on Grady to the point he has
vowed he will always try to be a “father to the fatherless.”

 

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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 11 of 19

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The Owens family is a very caring and giving family within the community of Blanco. Grady is the oldest
child and has one younger “birth” brother @g® (~ 13); however the Owens also adopted three additional
orphans into their family over the years — Max (~ 18), s@ligpsP(~ 16), and Alii (~ 4). One thing I’ve
noticed about Grady is his loving attitude and acceptance of Max, Siasmm and especially Aaegsr. Max and
M@azp were adopted from another country and have struggled mightily to adapt mainly due to the poor
treatment they received in/from their orphanage, while Adil is a multi-racial bundle of energy and

joy. Grady treats them ALL like they are just part of the family and loves them just as they are. He is

extremely tender with Ashlyn (who was a toddler prior to Grady leaving for college) which is not very
common for teen boys in my experience.

Grady is really what | would refer to as a “gentle giant”...he’s of slight build (on the thin side) but on the
taller side as he is well over 6 feet. During his time at Blanco he joined the basketball team his senior
year and even though he didn’t get to play much, he was very much a team player and helped out
whenever asked by coaches. He had a very unselfish team attitude, just what every coach looks for. I’ve
certainly never seen even the slightest hint of any aggressive nor violent behavior from Grady. | would
describe him as extremely laid back and non-aggressive, and | would expect he would be the last guy to
get physical with anyone out of just about any group of young males. Grady is certainly a well-liked,
“good kid” within the community of Blanco and within the CBCB church. My son, Tate, was behind

Grady in high school by one year, and he also has a very positive view of Grady. Other than at school, he
would occasionally see Grady at high school get-togethers and they shared several of the same friends.

These were all great kids and they had a lot of fun together...never causing any issues / trouble with the
law.

Of course Grady left to pursue his dream career in the music industry at Full Sail soon after high school,
yet | still would see him over the holidays and breaks. He has been consistently respectful, kind and
courteous every time | have been around him over the time I’ve known him. | do not believe Grady
wishes any harm for anyone, and to the contrary | believe his goal in life is to help and serve others and

make a real difference. ! hope you will strongly consider my perspective and | am more than willing to
jump on a video call or plane to reiterate any of this to anyone if helpful.

Respectfully,
Dhan

Todd A Trammell
Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 12 of 19

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April 22, 2021

The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.
Washington, DC 20001

RE: Grady Douglas Owens, 21-cr--00286-BAH
Dear Chief Judge Howell:

We moved to Blanco, Texas almost seven years ago. We've had the privilege of getting to know
the Owens family and Grady! Both Grady and his family are dearly loved and one of the most
highly respected families in this community.

Grady has always been a kind and likable person. He always has a smile on his face and is nice
to everyone. He’s a talented musician and has played guitar for our church band. He has helped
his family with his 3 adopted siblings through the years and has gone to Guatemala with our
church youth group to support orphans.

Grady and his family bought a house in town and named it “Blanco House “. They converted it
to a coffee shop and tea room to bring the community together. Grady was a big part of that
development.

Grady is one of the most peaceful and kind kids | know. | pray that truth is realized here. | would
do anything to help Grady. He’s a special person . Please know he doesn't deserve to be
confined. He is not a threat to anyone, but rather a blessing to others.

Sincerely,

Leslie Trammell

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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 13 of 19

April 22, 2021

The Honorable Beryl A. Howell

Chief Judge
United States District Court
333 Constitution Avenue, N.W.

Washington, D.C. 20001
Re: Grady Douglas Owens, 21-cr-00286-BAH

Dear Chief Judge Howell:

My name is Jack William Tierney. I’ve been friends with Grady ever since I started
taking classes with him at Full Sail University in Winter Park, Florida and I would like to write
to you and the court in regards to his character, and a little bit about him as a person. Since the
day we met Grady has continued to impress me with not only his virtuosic musical abilities but
also his kind spirit and virtuous nature. Grady has a kind of warm and inviting demeanor that
endears him to just about everyone that he comes across at Full Sail and that makes me revere
him so much as a person. He truly believes and lives the philosophy that if a friend asks for help,
you help them. There was never a time that I was in need of a friend and Grady didn’t extend a
warm invitation to be there and help in some capacity. On April 1st of this month and the days
that followed, I was deeply saddened and shocked to hear what had happened during his time in
Washington D.C. That a brief moment of recklessness landed my friend, whom I love, in so
much trouble. While I know that his actions must not go unpunished, I sincerely ask you to keep
in mind the kind of person Grady really is when ruling on your verdict. That being the kind of
person who was there for me when my mom was diagnosed with breast cancer and the kind of
person who has always supported his friends in their musical endeavors. There is really no way
to accurately put into words the dedication that Grady has to his work, I don’t think it can be
done. It’s the kind of dedication that inspires people around him to try harder and to be better. It’s
the kind of dedication that has made him so revered in this community of musicians and inspires
them to write letters gushing over him like this very one. I hope that these words have helped to
give you some insight on my beloved friend and colleague, Grady Owens.

Sincerely,

Jack Tierney

 

 

 
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 14 of 19

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The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens, 21-cr-00286-BAH

Dear Chief Judge Howell:
We are writing on behalf of our close family friend, brother in Christ, Grady Owens.

First, we would like to introduce ourselves, Jeff and Michelle Jacobs. We have been
married for sixteen years and have five children ages fourteen to six. Jeff is a full-time
student and pastor at Revolution Church, while Michelle stays at home with the
children. Jeff grew up in St. Louis, Missouri, and moved to the area when his father
transferred for work. Michelle grew up mostly on the East Coast, as her father served on
Presidential Staff in the United States Navy, but moved to San Antonio when he retired.

Our intention of writing this letter is to provide the Court evidence that Grady Owens is
a man of God, who possesses the character traits necessary to live a life that
demonstrates genuine intentions of doing good.

Over the ten years we have known Grady, his positive outlook on life shines in every
encounter we have with him. Although Grady is facing his challenges right now, he
continues to inquire about our son, who is critically ill, and pray for him daily. We have
always seen Grady’s love for people around him, on one occasion specifically, when |
leaving the family home, he embraced his parents in a way we could only hope our
children would as they leave our nest. At that moment, Grady recognized and thanked ;
his parents for their love and support, demonstrating his grateful heart and honorable
character. During our weekly family gatherings, Grady not only interacts with the other
children as a loving brother but also speaks of his goals and dreams in a way that brings
us hope as adults that he will be a part of the next generation encouraging others to
respect those who have gone before them and be a light that shines no matter what life
brings.

Please consider our reference of Grady’s character, as we have known him not only
through fellowship at church, but welcomed him into our home and spent the
appropriate time with him that we can attest to his true character as a man.

Sincerely,

Jeff and Michelle Jacobs

 

 
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 15 of 19

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f ’ 4 Gmail Pat Woodward <patmwoodwardjr@gmail.com>
Grady Owens
Erin Rogers <erinfrogers@gmail.com> Fri, Apr 23, 2021 at 11:08 AM

To: Patmwoodwardjr@gmail.com

The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens, _21-cr-00286-BAH
Dear Chief Judge Howell:

My name is Erin Rogers and | have lived in Blanco, Texas for the past five years. My oldest son, Zach Rogers and Grady
Owens have been friends since we moved to Blanco five years ago.

| am writing this letter on behalf of my oldest son's friend, Grady Owens. Grady spent numerous hours at our home his
senior year of high school. He was respectful, helpful and kind while visiting our home. He would reach out to our younger
son and include him in activities while spending time with his friend, my son, Zach at our home. Not all of Zach's friends
would do this. Zach, also spent numerous hours at the Owen's home his senior year. Grady and his family were always
gracious to share their home, time and meals with Zach and his friends. They are an inclusive and loving family.

Grady took a gap year after high school and helped his parents with his younger siblings. | think it must have been hard
Staying home while his friends went off to college or left Blanco for a job. Grady also had a DJ business and was highly
Sought after for birthday parties. He was very easy and accommodating to work with. His spirit of giving and putting others
first was shown through this business. He also volunteered at his church with his family most weekends.

Thank you for considering what I have to say about Grady Owens.

Sincerely,

Erin Rogers

Erin Rogers
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1-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 16 of 19

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The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue N. W.
Washington, D.C. 20001

Re: Grady Douglas Owens, 21-cr-00286-bah
Dear Chief Judge Howell,

Hi, my name is Kay Kuebel, | am a mom of three, work a part time job and am the Vice
President of the Blanco Education Foundation. Grady has been a very close family friend for
over eight years. Grady has always been a sweet kid with amazing parents who have raised
him in a Christian environment filled with love and support. He has volunteered in our
community in city and River clean ups, food drives, and fund raisers for families in need. He
has never been in trouble in school. He was active in Boy Scouts, and his church and church
youth group. Grady is a great young man. He has gone on vacations with my family and has
always been kind, genuine, respectful, and compassionate.

Thank you for reading this and | would be happy to answer any questions regarding Grady and
his character.

Sincerely,
Kay Kuebel

 

 

 
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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 17 of 19

The Honorable Beryl A. Howell
Chief Judge

United States District Court
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: Grady Douglas Owens , 21 - CR -00286-BAH

 

Dear Chief Judge Howell:

My name is Mary Lee Towell and | have been a friend of the Owens family and to Grady Owens for five
years. | am 63 years old, a wife, a mother of six, and a teacher for 42 years. | live in Boeme, Tx. and
have celebrated birthdays, graduations, and holidays with Grady Owens.

| am writing this letter to provide the Court with positive and spiritual information about Grady Owens for
the court to consider.

In the five years that | have known Grady, | have watched him grow from an upstanding high school
students, to a very fine and honorable young man. | have seen Grady in his home, at our church, and in
the workplace, and he is a true encouragement to all people and someone who spreads love and joy to
everyone he meets. Grady has a way of making everyone feel that they are special and have a God
given purpose for their life. | have seen Grady treat his adopted brother and sisters with the same
kindness and caring that he treats his biological brother. | have witnessed Grady speak words of wisdom
and hope to his siblings that struggle in any way, and Grady has been a tremendous support to his
mother and father as they work hard to take care of these abandoned children that he now knows as
family. | have watched Grady reach out to my own adopted boys that came from hard starts, and
motivate them to keep hope alive and never give up, that God has a plan for them. Grady has been a
wonderful son to his parents, and has always respected their wants and wishes as he was growing up. |
personally have had many conversations with Grady about his life and his dreams and the good that he
wants to be able to do in the world. Grady is loved and trusted by me, his word is good and honest.

Grady has been a member of the worship team at our church, and is admired by our congregation as a
young man of integrity, and a good role model for their children. Grady Owens has given his time to
teaching others guitar, helping with sound and media, and doing hard labor at our church and for

members of the church who are in need. Grady has been a part of athletic

S at his school and was a good
Student.

Grady Owens is a gentle, intelligent, and peaceful young man. He loves life, and always sees the best in
everyone and all situations. | hope and pray that this very special person, Grady, will have the
opportunity to follow his dreams. We need many more people like Grady leading our country.

Sincerely,
Mary Lee Towell

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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 18 of 19

 

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04/20/2012

The Honorable Beryl A. Howell
Chief Judge

United States District Court

333 Constitution Avenue N.W.

Washington, D.C. 20001

In Re: Grady Douglas Owens, 21-cr-00286-BAH
Dear Chief Judge Howell:

Thank you for the opportunity to share with you, our thoughts,
our experiences and close personal relationship with Grady D.
Owens, and the entire Owens family.

I am retired General Manager of a cluster of Salem
Communications radio stations in San Antonio, Texas, my husband
retired from his former business life, and he is an ordained
senior Elder in our church. Our close friendship with the Owens
family goes back to the time when Grady was about 7 years of
age. We are 80 and 81 years of age, almost a sort of “great-
grandparents” part of the family... sharing frequent dinners
together, we are very proud of the growth of this solid family.
We are also members of the same church family, many years of
knowing the family’s friends, the children’s associations and
activities.

The Owens family of 5 children, 2 natural children, 3 adopted
children, have been close knit, loving, well cared for, Mom and
Dad active in rearing these children, all of them active,
encouraged to find their highest and best for their individual
talents and interest.

Grady is no exception. He has shown ability and talent in music,
he has been a good student, moreover Grady is a good example to
his siblings, to his friends, and a leader among leaders in the
youth of our church. He has shared his musical talents as part
of the music team for the entire church,and has also helped
others in their own talents.

We were dismayed to learn that the prosecution asserted this
young man to be a travel risk, having traveled out of the
country. It is vital for the record to reflect his travels;
He, along with other junior and senior students in our church,
have (prior to Covid) been given the honor to work jobs to earn
money to help pay their own expense on mission trips. Grady,

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Case 1:21-cr-00286-BAH Document 13-3 Filed 04/23/21 Page 19 of 19

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along with youth pastor, other students in the church, traveled
to economically depressed area in Guatemala, there along side
the Operation Blessing (national and international ministry),
where they helped build housing and schools for the needy. They

worked with the locals, helped families as they could, shared
friendships with them.

Other out of country travels included the celebration of his
graduation as the entire family went to Cancun Mexico, 2

occasions of the family going together to those beaches. I also
recall a cruise with the family.

The family home has been a magnet and safe gathering place for
the children and friends of theirs. Parents always present and
involved. A home filled with laughter, music, food, prayer.
Without a scintilla of any doubt or question as to the
leadership with youth for good that Grady has exhibited as long
as we have known him. His example of respectful, good
citizenship, hard work, openhanded, smiling greetings, easy
friendship with elders, peers, and little ones, all have earned
this fine young man the highest regard of all with whom he comes
in contact. NEVER HAS HE BEEN INVOLVED IN ANY VIOLENCE AGAINST

ANOTHER! Never so much as a traffic citation on his clean
record.

Grady and his Dad visited with us regarding the trip to DC on
January 6'*. I can best describe their intention as “A-Political”
Seeing the division in the nation, this family is committed to
unity. Grady’s elderly grandparents were also in attendance,
their stated goals and purposes were to pray for this nation,

for the leaders, for peace and unity. We pray this honorable
court consider these truths about this family and specifically
this young man, Grady Douglas Owens. This nation and this court

can trust in his reliability, his sincere commitment to truth
and integrity as has been his lifelong example.

With respect,

Yours Sincerely,

Mary and J. Ken Dockery
Spring Branch, Texas 78070

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